     Case: 1:20-cv-01045 Document #: 62 Filed: 10/18/21 Page 1 of 2 PageID #:828




                IN THE UNITED STATES DISTRICT COURT FOR THE
               NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

JOHN SCATCHELL, JR.,                                   )
                                                       )
                Plaintiff,                             )
                                                       )      Case No. 2020-cv-01045
v.                                                     )
                                                       )      The Honorable Gary Feinerman
VILLAGE OF MELROSE PARK, et al.,                       )
                                                       )
                Defendants.                            )

                     JOINT STATUS REPORT PURSUANT TO DKT. 61

        NOW COME, all parties, jointly through their counsel, and report on the status of the

above-captioned matter pursuant to this Court’s July 26, 2021 minute order (Dkt. 61) regarding

the status of state court proceedings.

     1. On December 20, 2020, Plaintiff’s counsel filed a Notice of Appeal with the Clerk of the

        Circuit Court of Cook County, Illinois, appealing, inter alia, the denial of Plaintiff’s

        Petition for Administrative Review and the denial of his Motion for Leave to File an

        Amended Complaint in Scatchell v Board of Fire & Police Commissioners for the

        Village of Melrose Park, 18 CH 16150 (Ill. Cir. Ct. Cook Cnty). The appeal was docketed

        under 1-20-1361 in the Illinois Appellate Court, First District.

     2. On June 4, 2021, this Court granted Defendants' motion to stay, and denied (without

        prejudice) their motion to dismiss pursuant to the Colorado River abstention doctrine

        pending the resolution of the state court proceedings in Scatchell v. Board of Fire &

        Police Commissioners for the Village of Melrose Park, No. 18 CH 16150 (Ill. Cir. Ct.

        Cook Cnty., Ill.)

     3. On June 10, 2021, Plaintiff filed his Appellate Brief with the Clerk of Illinois Appellate

        Court, First District, in Docket 1-20-1361.
     Case: 1:20-cv-01045 Document #: 62 Filed: 10/18/21 Page 2 of 2 PageID #:829




    4. On July 21, 2021, the Defendants/Appellees filed their brief in 1-20-1361.

    5. On August 24, 2021, Plaintiff/Appellant filed his reply brief in 1-20-1361.

    6. The state appellate case is still pending.


                                                            Respectfully submitted,

                                                            By:    /s/ Gianna Scatchell
                                                            One of Plaintiff’s Attorneys
Gianna Scatchell, ESQ
Disparti Law Group, P.A.
121 West Wacker, Suite 2300
Chicago, Illinois 60601
P: (312) 506-5511 ext. 330
E: gia@dispartlaw.com

                                 CERTIFICATE OF SERVICE

        The undersigned attorney certifies that he served the foregoing document on all counsel

of record via this Court’s CM/ECF filing system on October 18, 2021, and that such counsels are

all registered e-filers.

                                                            By:    /s/ Gianna Scatchell




                                                    2
